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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 SYMBOLOGY INNOVATIONS LLC,
                                                      Civil Action No.: 4:19-cv-04072
              Plaintiff,

       v.                                             TRIAL BY JURY DEMANDED

 FIRSTLINE MANUFACTURING, CORP.,

              Defendant.

                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rules of Civil Procedure 41(a), Plaintiff Symbology Innovations, LLC

and Defendant Firstline Manufacturing, Corp., by and through their undersigned counsel, and

subject to the approval of this Court, hereby file this Joint Stipulation of Dismissal of all claims

against Defendant WITH PREJUDICE, with each party to bear its own costs, expenses and

attorneys’ fees.

Dated: January 19, 2022                               Respectfully submitted,

Of counsel:                                           KIZZIA JOHNSON PLLC

 Howard L. Wernow (Pro hac vice)                      /s/ Jay Johnson
 SAND, SEBOLT & WERNOW CO., LPA                       Jay Johnson
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                                                      ATTORNEYS FOR PLAINTIFF
      Case 4:19-cv-04072 Document 17 Filed on 01/19/22 in TXSD Page 2 of 2




                                                    KILLEEN & STERN, PC

                                                    /s/ Robert J. Killeen, Jr.
                                                    Robert J. Killeen, Jr.
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                                                    Facsimile: (713) 626-4545

                                                    ATTORNEY FOR DEFENDANT




                               CERTIFICATE OF SERVICE

       The undersigned certifies that on January 19, 2022, a true and correct copy of the above

and foregoing document was served on all counsel of record who is deemed to have consented to

electronic service via the Court’s CM/ECF system. Any other counsel of record will be served via

electronic mail.


                                                   /s/Jay Johnson
                                                   Jay Johnson




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